         Case 1:21-cr-00399-RDM Document 139 Filed 06/20/23 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      CRIMINAL NO. 21-cr-399 (RDM)
                                              :
ROMAN STERLINGOV,                             :
                                              :
                       Defendant.             :

            GOVERNMENT’S NOTICE OF SUPPLEMENTAL AUTHORITY

       The United States respectfully files this Notice of Supplemental Authority regarding the

Supreme Court’s recent decision in Smith v. United States, No. 21-1576 (June 15, 2023), a copy

of which is attached. In Smith, the Court held that, if a court overturns a conviction because the

trial occurred in a constitutionally improper venue and vicinage, the government may retry the

defendant in a proper locale. Smith explicitly did not reach any question about the substantive

scope or construction of the Venue Clause contained in Art. III § 2 cl. 3 of the U.S. Constitution

or the Sixth Amendment Vicinage Clause. Slip Op. at 3 n.1. However, Smith did reiterate several

points of relevance to the defendant’s pending Motion To Dismiss as to venue and the

government’s Opposition. See ECF No. 46, 52. First, Smith reiterated the holding in Hyde v.

United States, 225 U.S. 347 (1912), that a defendant in a conspiracy prosecution may be tried “in

any State in which any co-conspirator took any overt act in furtherance of the endeavor.” Slip Op.

at 6. Second, Smith found that “avoiding hardship to the defendant” is not a “core purpose of the

Venue Clause,” and observed that the Venue Clause is focused on the location of the alleged crime

and not where the defendant resides. Id. at 5-6 (internal quotations and alteration omitted). Third,

Smith consulted “[e]arly American practice” and “the early years of practice following ratification”

in order to construe the meaning of the Venue Clause and Vicinage Clause. Id. at 12-13. The
        Case 1:21-cr-00399-RDM Document 139 Filed 06/20/23 Page 2 of 2




Court found that the historical “absence alone” of any court barring retrial after dismissal for

improper venue was “considerable evidence” that the Clauses do not actually bar retrial.



                                            Respectfully submitted,
                                            MATTHEW M. GRAVES
                                            UNITED STATES ATTORNEY
                                            D.C. Bar No. 481052

                                     BY:    /s/ Christopher B. Brown
                                            Christopher B. Brown, D.C. Bar No. 1008763
                                            Assistant United States Attorney
                                            U.S. Attorney’s Office for the District of Columbia
                                            601 D Street, N.W.
                                            Washington, D.C. 20530
                                            (202) 252-7153
                                            Christopher.Brown6@usdoj.gov

                                            /s/ C. Alden Pelker
                                            C. Alden Pelker, Maryland Bar
                                            Trial Attorney, U.S. Department of Justice
                                            Computer Crime & Intellectual Property Section
                                            1301 New York Ave., N.W., Suite 600
                                            Washington, D.C. 20005
                                            (202) 616-5007
                                            Catherine.Pelker@usdoj.gov




                                                2
